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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
  DAVID MURPHEY and
   JESSICA MURPHEY
                           ,           )
              Plaintiff (s),           )
                                       )
      v.                               )     Case No.
                                       )
  Enhanced Recovery                    )
    Company, LLC.
                        ,              )
              Defendant(s).            )

                                 NOTICE OF INTENT TO USE
                                    PROCESS SERVER
                    PLAINTIFFS
Comes now                       and notifies the court of the intent to use
         (Plaintiff or Defendant)
    Process Service of America, Inc.

      (name and address of process server)
                 PO Box 5848


            Tallahassee, FL 32314


                    Enhanced Recovery Company, LLC.
To serve:
                                                          in the
      (name of defendants to be served by this process server)

above-styled cause. The process server listed above possesses the

requirements as stated in Rule 4 of the Federal Rules of Civil Procedure.

The undersigned affirms the information provided above is true and correct.
     03/07/2011                                       s/David M. Marco

      (date)                                 (attorney for Plaintiff)


                                             (attorney for Defendant)
